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                 IN THE UNITED STATES DISTRICT COURT
                FOR THE NORTHERN DISTRICT OF GEORGIA
                            ROME DIVISION

 EARL PARRIS, JR., individually,        )
 and on behalf of a Class of persons    )
 similarly situated,                    )
                                        )
        Plaintiff,                      ) Civil Action No. 4:21-cv-00040-TWT
                                        )
 vs                                     )
                                        )
 3M COMPANY, et al.,                    )
                                        )
        Defendants.                     )

MOUNT VERNON MILLS, INC.’S REPLY TO PLAINTIFF’S RESPONSE
  TO DEFENDANTS NOTICE OF SUPPLEMENTAL AUTHORITY

      COMES NOW Defendant Mount Vernon Mills, Inc. (“Mount Vernon” or

“MVM”) and files this Reply to Plaintiff’s Response to Defendants 3M’s and Daikin

America, Inc.’s Notice of Supplemental Authority by stating the following:

 I.   Plaintiff Fails to State A Duty To Warn Claim For Which Relief Can Be
      Granted Against Mount Vernon.

      Plaintiff suggests Johnson v. 3M, et al., Civ. No. 4:20-cv- 00008-AT, 2021

WL 4745421 (Sep. 20, 2021 N.D. Ga.) should not be read to excuse the manufacturer

defendants from shouldering a duty to warn about the use of their products,

contending instead that the district court in Johnson did not consider a duty to warn

of non-obvious dangers. (Pl’s Resp. at 3.) He points to case law in Georgia
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governing when a manufacturer of a product may assume such a duty and concludes

that the Court should give effect to a duty in this case. (Pl’s Resp. at 4.) And yet,

Plaintiff’s arguments to convince the Court to find a duty to warn in this case do not

hold for a mere user of the product such as Mount Vernon.

      In Coosa Valley Tech. College v. West, 299 Ga. App. 171 (2009), a child was

injured when his mother, a cosmetology student, brought home a nail kit that she

purchased in connection with classes at the college. Id. at 174. The college acquired

the kit from a third-party instructor teaching an elective class and arranged for the

purchase by the child’s mother. Id. Despite these circumstances, the Court concluded

that the college’s instructors owed no duty to the plaintiffs saying, “The Wests . . .

fail to cite authority for the proposition that the instructors, who neither sold nor

manufactured the nail kit Nicole purchased, assumed a duty to provide warnings

about a product purchased from a guest lecturer. Without establishing that the Coosa

Valley instructors owed a duty to warn, the Wests cannot establish that the

instructors were independently negligent.” Id. at 178.

      Neither is this a novel concept. In Silver v. Bad Boy Enters., LLC, 907 F.

Supp. 2d 1351 (M.D. Ga. 2012), a plaintiff sought to hold a successor manufacturer

liable for harms that arose under the practices of a prior owner. The plaintiff

contended the successor manufacturer had a duty to warn as to products


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manufactured prior to the change in ownership as well as during the successor

entity’s supervision of a recall program for those goods. The Court rejected both

theories. The district court said:

           Significantly, the Textron Defendants neither manufactured nor
           sold the Vehicle in question. Plaintiffs have cited no authority for
           the proposition that a party who neither manufactured nor sold a
           product has a duty to warn of dangers associated with the product.
           Plaintiffs make a novel argument that this duty arises in this case
           because Defendants continued the manufacture of these vehicles
           upon the purchase of BBE's assets and because they assumed
           responsibility for the recalls. The Court finds Plaintiffs' argument
           unsupported by any legal authority and unpersuasive.


Silver v. Bad Boy Enters., LLC, 907 F. Supp. 2d at 1358. Similarly, this Court

rejected an effort to hold employees had a duty to warn where they had no role in

connection with the instrumentality that injured a plaintiff. In Thurmond v. Federal

Signal Corp., Case No. 1:16cv1520-ELR, 2016 U.S. Dist. LEXIS 200739 (N.D. Ga.,

Nov. 29, 2016), the Court addressed a question of fraudulent joinder and had to

determine if two non-diverse employee defendants were properly named in the

action.     The employees worked in the parts department for a company that

manufactured a sewer cleaning truck upon which the plaintiff had been injured. In

concluding that the employees did not have an independent duty to warn the plaintiff,

the Court recognized that in the absence of interaction with the plaintiff, or a tortious

act, the employee plaintiffs could not be held to have had a duty to warn. Id. at *9.
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Notably, Plaintiff alleges no act of Mount Vernon that directly affected any plaintiff

during the intervening time between Mount Vernon’s use of a product and the

disposal of any byproduct pursuant to lawful means. Mount Vernon is further

removed from any alleged harm than the manufacturing defendants in Johnson

where Plaintiff concedes the existence of an activated sludge treatment method, not

solely a direct discharge system, is in place. (Am. Compl. Doc. No. 73 at ⁋35.)

II.   The Economic Loss Rule Bars Plaintiff’s Claims Related to Damages to
      Plaintiff’s Household Water, Which Was A Product He Purchased.

   Plaintiff’s efforts to use Johnson to escape the reach of the economic loss rule are

ineffective. (Pl’s Resp. at 10-12.) “In cases where the losses resulting from a

defective product are purely economic in nature, the economic loss rule bars the

plaintiff from seeking recovery under strict liability or negligence theories.” Home

Depot U.S.A., Inc. v. Wabash Nat'l Corp., 314 Ga. App. 360, 366 (2012) (citations

omitted). “Economic loss” means “damages for the loss of the value or use of the

defective product itself, costs of repair or replacement of the defective product, or

the consequent loss of profits, unaccompanied by any claim of personal injury or

damage to other property.” See; Home Depot U.S.A., 314 Ga. App. at 366; Vulcan




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Materials Co. v. Driltech, 251 Ga. 383, 384 (1983); Henderson v. Gen. Motors

Corp., 152 Ga. App. 63, 64 (1979).1

    A. Alleged Damage to Plaintiff’s Household Water.

    Plaintiff alleges that “the PFAS contamination has injured Plaintiff’s property

interest in his household water supply.” (Am. Compl. Doc. 73 at ¶ 88.) That Plaintiff

used the term “property interest” in his allegations does not save the fact that, at

bottom, Plaintiff seeks to recover damages for the reduced value of a product he

purchased, Plaintiff’s household water supply, which failed to perform as he

expected.   Costs associated with the repair of this product, devoid from any other

damages to person or property, are not recoverable under the economic loss rule.

“When a product injures only itself the reasons for imposing a tort duty are weak

and those for leaving the party to its contractual remedies are strong.” E. River S.S.

Corp. v. Transamerica Delaval, Inc., 476 U.S. 858, 871 (1986) (holding that where



1
 Mount Vernon respectfully disagrees with the Johnson Court’s statement that
“Plaintiff’s household water, allegedly contaminated with PFAS, is not a product he
purchased that failed to perform as expected, for which he seeks damages
“consequent to qualitative defects,” such as reduced value, return of purchase price,
or lost profits—typical economic losses. Vulcan, 306 S.E.2d at 256.” Order at 79.
Plaintiff Parris indisputably takes issue with the value of the product – household
water – that he purchased. (Am. Compl. Doc. 73 at ¶ 88.) And Plaintiff does not
contend he had no contract with the City of Summerville to purchase water.
Compare D. J. Powers Co. v. Peachtree Playthings, Inc., 348 Ga. App. 248, 255
(2018)(rejecting efforts to disclaim contract terms).
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defective parts caused a ship to malfunction and the only damages were to the ship

itself, the economic loss rule barred negligence claims against the ship manufacturer

reasoning the ship manufacturer had “no duty under a products-liability theory based

on negligence to avoid causing purely economic loss.”) The Supreme Court has

explained that “damage to a product itself is most naturally understood as a warranty

claim. Such damage means simply that the product has not met the customer's

expectations, or, in other words, that the customer has received ‘insufficient product

value’.” Id. at 872 (quoting J. White and R. Summers, Uniform Commercial Code

406 (2d ed. 1980).)

      B.     Alleged “Personal Injury” or “Property Damage.”

      Plaintiff alleges that “[t]he continued presence of this toxic sludge also

threatens to further contaminate the Summerville water supply with PFAS, creating

a risk of harm to human health or the environment, including to Plaintiff and others

who consume or have consumed water from the City of Summerville.” (Am. Compl.

Doc. 73 at ¶ ¶ 87, 201.) However, a “risk of harm” is not a “personal injury;” and it

is only a personal injury that escapes the ambit of the economic loss rule.2 Home

Depot U.S.A., Inc. v. Wabash Nat'l Corp., 314 Ga. App. 360, 366 (2012).



2
 Plaintiffs in Johnson expressly alleged injury based on exposure as noted by the
Court at p.72 of its Order (citing Paragraphs 167-168 of the Johnson Complaint).
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      Alternatively, Plaintiff alleges “Plaintiff and the Proposed Class Members

have suffered real property damages, including, but not limited to: (1) the diminution

in value of their property as a result of the provision of PFAS-contaminated water to

their homes; (2) interference with and loss of use and enjoyment of their property;

and (3) upset, annoyance and inconvenience.” (Am. Compl. Doc. 73 at ¶ 89.) But

this mere allegation, even if characterized as more than a threadbare recital

insufficient to withstand a motion to dismiss, is not the end of the inquiry.

      In GE v. Lowe's Home Ctrs., Inc., 279 Ga. 77, 79 (2005), the Georgia Supreme

Court addressed the issue in the negative of whether property not owned by the

plaintiff could be included in a calculation of damages within the scope of an

economic loss. However, the court did not address the scope of the economic loss

doctrine within owned property.3       In ascertaining whether “other property” is

involved so as to trigger the exclusion from the bar of the economic loss rule, courts



3
 Another division of this Court waded into these waters last month in Elder v.
Worldwide Reliance Corp., 2021 U.S. Dist. LEXIS 194414 (N.D. Ga. Case No.
1:20cv1596-AT, Sept. 27, 2021). In that case, however, the district court
erroneously concluded that the Georgia courts would take an expansive view of the
economic loss rule citing a Middle District of Florida decision and a misreading of
Mike Bajalia, Inc. v. Amos Constr. Co., 142 Ga. App. 225 (1977). Id. at *25-26.
Bajalia dealt with components supplied by other manufacturers, not a single product
and an integrated system as here. Further, an expansive view is inconsistent with
what the Georgia Supreme Court held in GE v. Lowe's Home Ctrs., Inc., 279 Ga. 77,
80 (2005).
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have employed an “integrated system” test to see whether the allegedly defective

product is a component in a larger system holding that once a part becomes

integrated into a completed product or system, the entire product or system ceases

to be 'other property' for purposes of the economic loss doctrine. Foremost Farms

USA Coop. v. Performance Process, Inc., 726 N.W. 2d 289, 294 (Wi. App. 2006).

Here, the allegedly contaminated household water about which Plaintiff complains

is merely a component of the larger plumbing system in Plaintiff’s home, and any

loss of use of that system, or indeed, diminution in value to the property as a whole

due to that system does not escape the economic loss rule. See Indem. Ins. Co. of N.

Am. v. Am. Aviation, Inc., 344 F.3d 1136, 1147 (11th Cir. 2003) (holding landing

gear to be an integrated part of an aircraft).

      Even were Plaintiff’s claims of loss of use or diminution in value of real

property deemed other property, they would still not survive the economic loss bar

where they arise out of the very product Plaintiff purchased. Courts have employed

a “disappointed expectations” test to determine whether the purchaser should have

anticipated the need to seek protection against loss through contract. The test

addresses the expected function of the product and whether, from the purchaser's

perspective, it was reasonably foreseeable that the product could cause the resulting

damage. Foremost Farms USA Coop., 726 N.W.2d at 295. Plainly here, allegedly


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contaminated water is at the heart of both Plaintiff’s loss of use and diminished value

claims, and the quality of that water could have been dealt with as a matter of

contract between Plaintiff and his water supplier.

      Policy considerations favor adopting Mount Vernon’s position and disfavor

Plaintiff's position. Plaintiff's position would significantly expand the reach of

Georgia tort law and would also be murky and could give rise to substantial

litigation. In contrast, Mount Vernon's position provides the certainty of a bright-

line test, and affords predictability to courts and parties alike. The Georgia Supreme

Court embraced these precise principles in GE v. Lowe's Home Ctrs., Inc., 279 Ga.

77, 80 (2005). Consequently, the economic loss rule bars Plaintiff’s claims contrary

to their efforts to leverage the language in Johnson to support them.

                                  CONCLUSION

      For the foregoing reasons, and those expressed in its opening and reply briefs,

MVM respectfully urges the Court to dismiss Plaintiff’s Complaint against MVM.

Mount Vernon relies upon its existing briefing as to any matters set forth in

Plaintiff’s Supplemental Authority filing not addressed herein.

      This 28th day of October, 2021.


                                         /s/ William M. Droze
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                                        Georgia Bar No. 231039
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                       LOCAL RULE 7.1D CERTIFICATION

         Counsel certifies that the foregoing document was prepared in Times New

Roman, 14-point font, in compliance with Local Rule 5.1B.

         This 28th day of October, 2021.

                                                /s/ William M. Droze
                                                William M. Droze
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                                                william.droze@troutman.com

                           CERTIFICATE OF SERVICE

         I HEREBY CERTIFY that I have served a copy of the within and foregoing

MOUNT VERNON MILLS, INC.’S REPLY TO PLAINTIFF’S RESPONSE

TO DEFENDANTS NOTICE OF SUPPLEMENTAL AUTHORITY was

electronically filed with the Clerk of Court using the CM/ECF system, which

automatically serves notification of such filing to all counsel of record.

         This 28th day of October, 2021.

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